                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                               DOCKET NO. 3:01-CR-31-FDW


 UNITED STATES OF AMERICA,                       )
                                                 )
        vs.                                      )
                                                 )
 STEVE O’SHEA MONROE,                            )                   ORDER
                                                 )
                Defendant.                       )
                                                 )

       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 473 ) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2) and the new crack cocaine sentencing

guidelines.   Defendant’s motion is DENIED for the reasons stated in the two Presentence

Investigation Reports and prior Court’s Order (Doc. Nos. 462, 463 & 466).

       IT IS SO ORDERED.

                                                Signed: October 8, 2009




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